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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


Midas Green Technologies, LLC,

      Plaintiff,                         Civil Action No. 6:22-cv-00050-ADA

              - vs. -                    Jury Trial Demanded

Rhodium Enterprises, Inc.;
Rhodium Technologies LLC;
Rhodium 10mw LLC;
Rhodium 2.0 LLC;
Rhodium 30mw LLC;
Rhodium Encore LLC;
Rhodium Industries LLC;
Rhodium JV LLC;
Rhodium Renewables LLC;
Rhodium Shared Services LLC;
Rhodium Shared Services PR Inc.;
Chase Blackmon;
Cameron Blackmon; and
Nathan Nichols,

      Defendants.




      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

                          THE FIRST AMENDED COMPLAINT
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                                            Introduction
    Plaintiff Midas Green Technologies, LLC (“Midas”) respectfully opposes Defendants’ Mo-

tion to Dismiss Plaintiff’s First Amended Complaint for Patent Infringement (Dkt. 45)

(“the MTD”). Midas brought this lawsuit on January 13, 2022, and Defendants moved to dismiss

the original complaint on March 28, 2022. See Dkt. 39 (the original MTD, “OMTD”). Defend-

ants’ motion to dismiss was without merit. But, in an effort to avoid burdening the Court, Midas

filed a First Amended Complaint (“FAC”) on April 18, 2022 that sought to add certain allega-

tions that Defendants’ motion to dismiss purportedly sought. See Dkt. 44. For example, Midas

added allegations concerning the undercapitalization of the Rhodium entities, after Defendants

asserted in their motion that “undercapitalization is a critical factor in an alter ego analysis,”

OMTD at 6–7. Indeed, Midas added factual allegations as to all twelve alter ego factors. As to

induced infringement, Defendants purportedly sought more allegations that Defendants “knew or

should have known that the use of the accused immersion cooling system amounted to infringe-

ment of either Asserted Patent,” OMTD at 14. So Midas added voluminous factual allegations

as to Defendants knowledge of the patents and, specifically, the infringement. Midas hoped the

amendment, at the very least, would narrow the issues for this Court to decide.

    No luck. Defendants instead filed another motion to dismiss, raising all of the exact same ar-

guments. Each argument continues to be meritless. Indeed, several, especially including Defend-

ants’ arguments as to willful infringement, have been expressly and repeatedly rejected by this

Court. Many of Defendants’ arguments also are disingenuous, glossing over or mischaracterizing

the actual factual allegations in the FAC. The FAC more than satisfies the pleading requirements

of Rule 8 of the Federal Rules of Civil Procedure for its claims of direct, induced, and willful in-

fringement, and the FAC establishes a prima facie case of personal jurisdiction and venue as to

all entities.

    This Court should deny the motion to dismiss. In the alternative, if the Court identifies any

deficiencies, it should grant Midas leave to amend to address such deficiencies.



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                                          Legal standard
   Courts deny motions to dismiss if the complaint “state[s] a claim for relief that is plausible on

its face.” Voip-Pal.com, Inc. v. Facebook, Inc., 2022 WL 1394550, at *1 (W.D. Tex. May 3,

2022) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). In assessing plausibility, the Court

must “accept[] all well-pleaded facts as true, view[] them in the light most favorable to the plain-

tiff, and draw[] all reasonable inferences in the plaintiff’s favor.” BillJCo, LLC v. Apple, Inc.,

2022 WL 299733, at *1 (W.D. Tex. Feb. 1, 2022) (quoting Johnson v. BOKF Nat’l Ass’n, 15 4th

356, 361 (5th Cir. 2021)). A claim is facially plausible if the plaintiff pleads “factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged, based on more than a sheer possibility that a defendant has acted unlawfully.” Id. (quot-

ing Iqbal, 550 U.S. at 570) (internal quotation marks omitted). “The court’s task is to determine

whether the plaintiff stated a legally cognizable claim that is plausible, not to evaluate the plain-

tiff’s likelihood of success.” Id. (quoting Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC,

594 F.3d 383, 387 (5th Cir. 2010)). Detailed factual allegations are not required. Lormand v. US

Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009). In general, motions to dismiss “are viewed

with disfavor and are rarely granted.” Id.

                                             Argument
   A. The FAC does not improperly lump all Defendants together.

   Defendants’ argument that the FAC “impermissibly lumps all fourteen Defendants together”

(and somehow fails to provide fair notice) is without merit. MTD at 4. Indeed, it is difficult to

imagine what more Midas could plead without the benefit of formal discovery.




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       1. The FAC distinguishes between three groups of Defendants and puts each on notice
          of the allegations against them.
    The FAC makes distinct allegations against three groups of Defendants: (1) the Individual

Defendants 1; (2) Rhodium Enterprises and Rhodium Technologies; and (3) the Rhodium Operat-

ing Subsidiaries. Each Defendant has notice of the allegations against it. No more is required.

This is because “[m]ultiple defendants’ conduct may be ‘lumped together’ if the plaintiff’s alle-

gations elsewhere designate the nature of the defendants’ relationship to a particular scheme and

identify the defendants’ role.” Monitronics Int’l, Inc. v. Skyline Seec. Mgmt., Inc., 2017 WL

2882624, at *4 (N.D. Tex. July 5, 2017) (quoting Rhatia v. Dischino, 2011 WL 3820825, at *12

(N.D. Tex. Aug. 29, 2011)). And it is permissible to use “collective allegations to describe the

actions of two or more defendants who are alleged to have engaged in the same conduct.” Id.;

see also Lasslet v. Tetra Tech, Inc., 2015 WL 13805125, at *3 (W.D. Tex. Feb. 20, 2015)

(“While Rule 8 does not prohibit ‘collective allegations’ against multiple defendants, it does re-

quire that the allegations be sufficient to put each defendant on notice of what they allegedly did

or did not do.”) (quoting Howard v. Mun. Credit Union, 2008 WL 782760, at *12 (S.D.N.Y.

Mar. 25, 2008)); SEC v. Couch, 2014 WL 7404127, at 5 (N.D. Tex. Dec. 31, 2014) (holding

complaint satisfied heightened Rule 9(b) standard, despite “lumping defendants together,” where

it detailed the parties’ relationship and alleged their joint misconduct). A “hyper-technical” ap-

plication of the pleading standard is not necessary particularly when the defendants employ a

complex corporate structure and “factual information is peculiarly within the defendant[s’]

knowledge or control.” In re Enron Corp. Sec., Derivative, and Erisa Litig., 2005 WL 3504860,

at *8 (S.D. Tex. Dec. 22, 2005); see also Lasslett, 2015 WL 13805125 at *3 (denying motion to

dismiss where “only discovery can shed light on the proper party” that is “responsible for the

acts in question” because “[a]t the complaint stage, plaintiffs are not expected to know or allege



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  The Individual Defendants are addressed further below in Section C, addressing their individual
liability. The FAC contains numerous specific factual allegations as to the actions of the Individ-
ual Defendants.
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the complete details of each defendant’s precise role in the complex transactions that supposedly

took place. It is sufficient to state that the group of named defendants was responsible for the al-

leged misconduct specified in the complaint.”) (quoting Howard, 2010 WL 148643, at *4).

   As to Rhodium Enterprises and Rhodium Technologies, the two parent companies, the FAC

alleges they committed direct infringement “by way of directing and controlling the activities of

the Rhodium Operating Entities.” Id. ¶ 74, 90. In addition, the FAC alleges they committed indi-

rect infringement by “willfully providing infringing directions, instructions and designs for im-

mersion cooling systems and tank modules to among other parties, the Rhodium Subsidiaries, for

knowing use in infringing activity to mine bitcoin and generate revenue.” Id. ¶ 81, 97. This again

satisfies Midas’ pleading obligation of putting Rhodium Enterprises and Rhodium Technologies

on notice of the allegations against them.

   As to the Rhodium Operating Subsidiaries, Midas has likewise sufficiently put them on no-

tice of the allegations against them. Here, the FAC defines the nature of the Rhodium Operating

Subsidiaries’ relationship and their role in the infringing conduct. The FAC alleges the Rhodium

Operating Subsidiaries are affiliate entities under the control of their parent companies and, ulti-

mately, the Individual Defendants. FAC ¶ 29. It further alleges they collectively engaged in the

wrongful conduct of patent infringement by “at least making, having made, using, selling, and/or

offering for sale” infringing products. Id. 73, 89. This puts the Rhodium Operating Subsidiaries

on notice of the allegations against them, and Midas need not plead more. This is particularly

true because the Rhodium entities were intentionally designed to have a convoluted and opaque

corporate structure, and are alleged to “exist for the purpose of illegitimately shielding Defendant

Rhodium Enterprises, Inc. and Rhodium Technologies LLC, and in turn the Individual Defend-

ants, from liability.” Id. ¶ 22. And all information as to which alleged acts were committed by

which specific operating subsidiary are fully within Defendants’ possession. Without the benefit

of discovery, Midas cannot be expected to plead more about their individual role in the alleged

misconduct.



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   The case cited in the MTD is distinguishable. In Callier v. Nat’l United Grp., 2021 WL

5393829, at *1 (W.D. Tex. Nov. 17, 2021), and all of the cases cited by Callier, the plaintiff

brought claims against unrelated defendants. The court held under these circumstances, the

plaintiff was required to identify each defendant’s specific actions because without such allega-

tions the defendants did not have fair notice under Rule 8. Id. at *4. This same does not apply

here, where the Rhodium Operating Subsidiaries, and the parent Defendants, are closely inter-

connected affiliate entities engaged in the same infringement scheme. Lasslett is instructive.

There the Court rejected similar arguments, contrasting the cases relied upon by Callier as in-

volving as many as “sixteen different defendants, lumping tortious acts together that were ‘en-

tirely different in character’ and therefore ‘mistakenly grouped in a single allegation,’” whereas

the complaint in Lasslett involved “only two named defendants who are allegedly responsible for

the exact same acts.” 2015 WL 13805125 at *3.


       2. The FAC sufficiently pleads the Rhodium entities are alter egos of each other.
   Even if dismissal were warranted on the grounds that the FAC does not sufficiently differen-

tiate the actions of the Rhodium defendants, the MTD still should be denied because the FAC al-

leges that the Rhodium entities are alter egos of each other. Allegations directed to multiple de-

fendants satisfy pleading standards when the complaint “elsewhere also contains adequate alle-

gations that the defendants are alter egos of each other.” Sparling v. Doyle, 2014 WL 12489990

(W.D. Tex. 2014); see also Infomart (India), Pvt., Ltd. v. Metrowerks Corp., 2005 WL 292433,

at *4 (N.D. Tex. 2005) (rejecting argument that pleading impermissibly lumps defendants to-

gether where plaintiff alleged defendants are alter egos of each other).

   To determine whether corporations are alter egos of each other, the Fifth Circuit examines

whether: (1) the parent and subsidiary have common stock ownership; (2) the parent and subsidi-

ary have common directors and officers; (3) the parent and subsidiary have common business de-

partments; (4) the parent and subsidiary file consolidated financial statements and tax returns; (5)

the parent finances the subsidiary; (6) the parent caused the incorporation of the subsidiary; (7)


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the subsidiary operates with grossly inadequate capital; (8) the parent pays the salaries and other

expenses of the subsidiary; (9) the subsidiary receives no business except that given to it by the

parent; (10) the parent uses the subsidiary’s property as its own; (11) the daily operations of the

two corporations are not kept separate; and (12) the subsidiary does not observe corporate for-

malities, such as keeping separate books and records and holding shareholder and board meet-

ings. U.S. v. Jon-T Chemicals, Inc., 768 F.2d 686, 691–92 (5th Cir. 1985). Courts consider the

“totality of the facts.” Id. at 692. “[N]o single factor is sufficient or necessary.” Sparling, 2014

WL 12489990, at *6.

    Here, the FAC pleads that all twelve alter ego factors are present here, supported by specific

factual allegations.

    •   Common stock ownership: Citing to Rhodium Enterprise’s Amended SEC Form S-1,

the FAC alleges “[e]ach Individual Defendant owns shares of both Defendant Rhodium Enter-

prises, Inc. and Defendant Rhodium Technologies LLC through Imperium Investment Holdings

LLC” and “Rhodium Technologies LLC in turn directly or indirectly owns all of the outstanding

equity interests in the Rhodium Operating Subsidiaries.” FAC ¶ 18.

    •   Common directors and officers: The FAC alleges “the Rhodium Operating Subsidiaries

share common directors and officers with Defendant Rhodium Enterprises, Inc. and Defendant

Rhodium Technologies LLC.” Id. ¶ 19.

    •   Common business departments: The FAC alleges the Rhodium entities operate the

same bitcoin mining operation, out of the same Rockdale facility, and “have common business

departments.” Id. ¶ 26.

    •   Consolidated financial statements: The FAC quotes Rhodium Enterprise’s Amended

SEC Form S-1, which states “The condensed consolidated financial statements include the ac-

counts of Rhodium Enterprises Inc. and its respective subsidiaries.” Id. ¶ 20.

    •   Parent finances the subsidiaries: The FAC alleges “Defendant Rhodium Enterprises,

Inc. and Defendant Rhodium Technologies LLC finance the Rhodium Operating Subsidiaries.”

Id. ¶ 23.

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   •   Parent caused incorporation: The FAC alleges “Defendant Rhodium Enterprises, Inc.,

Defendant Rhodium Technologies LLC, and the Rhodium Operating Subsidiaries (except for

Rhodium Shared Services PR LLC) were incorporated by Defendant Cameron Blackmon, acting

on behalf of Imperium Investment Holdings LLC, a third party under the control of the Individ-

ual Defendants.” Id. ¶ 21.

   •   Inadequate capital: The FAC alleges “the Rhodium Operating Subsidiaries are presently

undercapitalized and exist for the purposes of illegitimately shielding Defendant Rhodium Enter-

prises, Inc. and Rhodium Technologies LLC, and in turn the Individual Defendants, from liabil-

ity.” Id. ¶ 22. The FAC further alleges “the Rhodium Operating Subsidiaries would be unable to

satisfy any money judgement levied against them because of their undercapitalization and be-

cause their revenues flow directly to Defendant Rhodium Enterprises, Inc. and Defendant Rho-

dium Technologies LLC.”

   •   Parent pays salary of subsidiaries: The FAC alleges “Defendant Rhodium Shared Ser-

vices LLC directly pays the salaries of all Rhodium officers and employees, with the exception

that Defendant Rhodium Shared Services LLC indirectly pays the salary of Rhodium Chief Fi-

nancial Officer Nicholas Cerasuolo by way of its subsidiary, Defendant Rhodium Shared Ser-

vices PR Inc.” Id. ¶ 24.

   •   No business except through parent: The FAC alleges “the Rhodium Operating Subsidi-

aries receive no business except through that allocated and arranged by Defendant Rhodium En-

terprises, Inc. and/or Defendant Rhodium Technologies LLC.” As an example, the FAC alleges

“Defendant Rhodium Enterprises, Inc. and/or Defendant Rhodium Technologies LLC negotiate

contracts on behalf of the Rhodium Operating Subsidiaries, or vice versa.” Id. ¶ 27.

   •   Parent uses subsidiary’s property as its own: The FAC alleges Defendant Rhodium

Enterprises, Inc., Defendant Rhodium Technologies LLC, and the Rhodium Operating Subsidiar-

ies use each other’s properties as their own, including “operat[ing] out of the same Rockdale,

Texas bitcoin mining facility, among other facilities.” Id. ¶ 25.



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    •   Daily operations not kept separate: The FAC alleges Rhodium Enterprises, Rhodium

Technologies, and the Rhodium Operating Subsidiaries “collectively operate the same bitcoin

mining operation” and “some or all of them operate out of the same Rockdale, Texas bitcoin

mining facility, among other facilities.” Id. ¶ 26.

    •   Lack of corporate formalities: The FAC alleges the Rhodium entities do not observe

corporate formalities, including keeping separate books. Id. ¶ 28. The FAC cites to Rhodium En-

terprise’s Amended SEC Form S-1, which states “All inter-company accounts, balances, and

transactions have been eliminated.” 2 Id.

    These detailed factual allegations, as to all twelve factors, more than satisfy the alter ego

pleading requirement. See also OMTD at 6–7 (“undercapitalization is a critical factor in an alter

ego analysis because ‘the alter ego doctrine is an equitable remedy which prevents a company

from avoiding liability by abusing the corporate form’”) (quoting Nat’l Steel Car Ltd. v. Green-

brier Companies, Inc., 2020 WL 4289388, at *4 (W.D. Tex. July 27, 2020)).

    The MTD first erroneously claims that the Court should wholesale disregard allegations

made on information and belief. MTD at 6, 8. This is not the law. “[A]fter Iqbal and Twombly,

pleading ‘upon information and belief’ remains permissible so long as the allegations in the

pleading raise a facially plausible claim.” O’Malley v. Brown Brothers Harriman & Co., 2020

WL 1033658, at *8 (W.D. Tex. Mar. 3, 2020) (quoting Barnett v. Patwardhan, 2013 WL

1290201, at *2 (W.D. La. Mar. 28, 2013). This is especially true where—as here—“the facts are

peculiarly within the possession and control of the defendant . . . or where the belief is based on

factual information that makes the inference of culpability plausible.” Id. (quoting Innova Hosp.


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  From this statement, Midas drew the reasonable inference that Rhodium does not maintain sep-
arate books and accounts, having eliminated the practice. Defendants offer a competing explana-
tion: that the Amended SEC Form S-1 refers to Rhodium Enterprises eliminating inter-company
accounts only for purposes of “preparing” the filing, and that this “represents a departure from
the actual organization of the entities.” MTD at 8. At the pleading stage, however, courts “are not
authorized or required to determine whether the plaintiff’s plausible inference . . . is equally or
more plausible than other competing inferences . . . .” Motiva Patents, LLC v. Sony Corp., 408 F.
Supp. 3d 819, 827 (E.D. Tex. 2019).
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San Antonio, Ltd. P’ship v. Blue Cross and Blue Shield of Ga., Inc., 892 F.3d 719, 730 (5th Cir.

2018)); see also Innova Health, 892 at 730 (“[W]hen discoverable information is in the control

and possession of a defendant, it is not necessarily the plaintiff’s responsibility to provide that

information in her complaint.”).

   Defendants rely on this Court’s opinion in Aeritas, LLC v. Darden Corp., 2021 WL 4868430,

at *2, which holds that the Court may disregard allegations made on information and belief with

no factual support (i.e., “legal conclusions disguised as factual allegations”). MTD at 6, 8. Not

so here. Many of Midas’ alter ego allegations are based on Rhodium Enterprises’ SEC filing,

while others are based on specific factual allegations—which Defendants do not dispute—such

as the Rhodium entities’ common directors and officers, finances, common operation of the same

bitcoin mining operation, one entity paying the wages of all employees, and sharing of the same

Rockdale facility. See FAC ¶¶ 18–28. And, unlike in Aeritas where the plaintiff baldly alleged

that Olive Garden’s parent corporation and Texas subsidiary were alter egos by just reciting the

legal factors, the allegations here are based on numerous factual allegations, such as the Defend-

ants’ history, ownership, and operations, that make the inference of the alter ego factors more

than plausible.

   Defendants also selectively attack a few cherry-picked alter ego factors. For example, Rho-

dium argues one-hundred percent ownership and identity of directors are “an insufficient basis”

to apply the alter ego theory. MTD at 8–9 (citing Synergy Drone LLC v. Parrot S.A., 2018 WL

11361758, at *4 (W.D. Tex. Apr. 17, 2018)). Similarly, Defendants cite to a case holding “con-

solidated SEC filings do not overcome the presumption of corporate separateness.” MTD at 7–8

(citing Ergo Licensing, LLC v. Cardinal Health, Inc., 2009 WL 2021926, at *5 (D. Me. Jul 13,

2009)). Defendants’ selective attack completely ignores that while one or two factors, standing

alone, may be insufficient to invoke the alter ego theory, courts may appropriately consider them

in conjunction with other factors. See Sparling, 2014 WL 12489990, at *7 (“Plaintiffs[’] claim is

made up of a number of factors, that when considered together, rise above a conclusory descrip-

tion and are legally sufficient.”). Defendants do not—and cannot—cite any support that Midas’

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detailed allegations, as to every alter ego factor, somehow fall short of satisfying the alter ego

test.


    B. This Court has personal jurisdiction and venue as to Rhodium Shared Services PR Inc.,
       an alter ego of the other Corporate Defendants.
    The FAC alleges sufficient facts to establish proper personal jurisdiction and venue as to

Rhodium Shared Services PR Inc (“Rhodium PR”). “[A] close relationship between parent and

subsidiary may justify a finding that the parent does business in a jurisdiction through the local

activities of its subsidiaries, or vice versa.” Diamond Offshore Servs., 2007 WL 9736215, at *6
(S.D. Tex. Jan. 5, 2007) (internal quotes omitted”); see also Blanca Peak Resources, LLC v. Big

Star Energy Ltd., 2020 WL 1445785, at *3 (“The citizenship of a subsidiary may be imputed to

its parent corporation, however, when the subsidiary is not truly operating as a separate entity but

is, instead, the alter ego of the parent corporation [and vice versa].”) (citing Bennett v. Steak ’n

Shake Operations, Inc., 2010 WL 2400160, at *1 (N.D. Tex. June 14, 2010)); In re Chinese-

Manufactured Drywall Prods. Liability Litig., 2017 WL 1476595, at *18–19 (E.D. La. Apr. 21,

2017) (“[T]he Fifth Circuit acknowledges that in some cases, the relationship between affiliated

corporations requires the forum contacts of one entity to be imputed to another for the purpose of

personal jurisdiction” and “Courts are not limited to imputing the jurisdictional contacts of sub-

sidiaries to direct parent companies only, but may impute the contacts of any related entity if
warranted by the facts.”).

    “[T]he alter ego test for attribution of contact, i.e., personal jurisdiction, is less stringent than

that for liability.” Windecker v. Hang Wei, 2020 WL 4194017, at *3 (W.D. Tex. July 21, 2020)

(quoting Stuart v. Spademan, 772 F.2d 1185, 1198 n.12 (5th Cir. 1985)). This is because

“[p]iercing the corporate veil is not necessary for imputing contacts of one affiliated corporation

to another for purposes of personal jurisdiction, but rather is the test generally conducted for im-

posing liability as between related corporations.” In re Chinese-Manufactured Drywall Prods.




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Liability Litig., 2017 WL 1476595, at *19 (emphasis in original). So too with venue. WSOU In-

vestments, LLC d/b/a Brazos Licensing and Development v. Canon, Inc., Case No. 6-20-CV-

00980-ADA, ECF No. 137 (W.D. Tex. Feb. 11, 2022) (“Although courts often discuss alter ego

in terms of jurisdictional issues, the same concerns are present when analyzing venue.”) .

   As discussed above, Rhodium PR is the alter ego of the other Rhodium entities. All of the al-

ter ego factors are alleged to present as to the Rhodium PR entity as well as the others. In the en-

tire Rhodium corporate family, corporate lines are blurred. Other Rhodium entities conduct busi-

ness in this District, have at least two places of business in this District, and have committed acts

of infringement in this District (indeed, in this Division). FAC ¶¶ 1–11, 21. Defendants do not

dispute that personal jurisdiction and venue is proper as to the other Rhodium entities. Because

the FAC sufficiently alleges the Rhodium entities are alter egos of one another, the Court should

impute the contacts and places of business of the other Rhodium entities to Rhodium Shared Ser-

vices PR Inc. and find personal jurisdiction and venue satisfied.

   In addition, this Court has personal jurisdiction over Rhodium PR based on its Texas con-

tacts. Personal jurisdiction exists if the defendant purposefully “established minimum contacts

with the forum state, invoking the benefits and protections of the state’s laws and, therefore, rea-

sonably could anticipate being haled into court here.” York v. Tropic Air, Ltd., 2012 WL

1077198, at *1 (S.D. Tex. Mar. 28, 2012) (quoting Command-Aire v. Ontario Mech. Sales &

Serv., Inc., 963 F.2d 90, 94 (5th Cir. 1992)). General jurisdiction exists when a defendant’s con-

tacts with the forum state are “continuous and systematic.” Id., at *2.

   Here, the FAC plausibly alleges Rhodium PR derives its business exclusively or nearly ex-

clusive from Texas, acts for the benefit of its Texas parents and affiliates, and invokes Texas’

venue and law in its contracts. The FAC alleges Rhodium PR “conducts most if not all of its

business in this District and in Texas.” FAC. ¶ 33. It is the wholly owned subsidiary of Texas-

based Defendant Rhodium Shared Services LLC. Id. One of the purposes of Rhodium PR is to

receive funds from its Texas-based parent so it can pay Rhodium’s Chief Financial Officer Nich-



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olas Cerasuolo. Id. Because Rhodium PR is nominally an entity formed in Puerto Rico, this ar-

rangement may provide tax benefits to Mr. Cerasuolo. Id. The FAC further alleges Rhodium PR

conducts business in Texas including by “negotiating and becoming a party to a number of Texas

agreements.” Id. For example, it cites to an agreement attached to Rhodium Enterprises’

Amended SEC Form S-1, in which Rhodium PR states it acts for the benefit of its corporate par-

ents and affiliates—who are Texas-based entities. Id. The agreement provides for mandatory ar-

bitration in Texas, venue for legal proceedings in Texas, and interpretation of its provisions un-

der Texas law. Id. Defendants try to minimize these contacts by stating the agreements refer-

enced in the FAC are not yet executed. But the fact remains—and the MTD does not deny—that

Rhodium PR negotiated these Texas contracts, attached to Rhodium’s public SEC filings, and

that Rhodium PR and the other Defendants intend to operate under them. Midas’ allegations in

paragraph 33 of the FAC 3 support the Court’s personal jurisdiction over Rhodium PR. See York,

2012 WL 1077198, at *14 (Holding court has personal jurisdiction over foreign corporation be-

cause “[b]y seeking benefit, advantage, and profit from Texas, [defendant] has impliedly con-

sented to its laws.”).

    C. The Individual Defendants are liable for their own acts of direct infringement.

    Corporate officers may be personally liable for their acts of direct infringement, even if taken

in their corporate capacity. In Lubby Holdings LLC v. Chung, 11 F.4th 1355, 1358 (Fed. Cir.

2021), a corporate officer made, offered to sell, and sold devices accused of infringing the plain-

tiff’s patent, including by “design[ing] the accused products,” “[selling] the accused products

through his company,” and “[making] the decision to sell the accused products through his com-

pany.” Based on this evidence, a jury found the officer personally liable for direct patent in-

fringement. Id. The Federal Circuit affirmed, noting “[t]he fact that [the defendant] may have




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  These allegations also provide additional support to show Rhodium PR is the alter ego of at
least its direct parent Rhodium Shared Services LLC.
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acted on behalf of his corporation does not excuse him from individual liability” and the “evi-

dence that [he] sold the allegedly infringing products” supports the jury’s verdict. Id.

       The allegations here are indistinguishable from the facts in Lubby Holdings. The FAC al-

leges each of Chase Blackmon, Cameron Blackmon, and Chase Nichols “personally directed,

participated in, authorized, and/or ratified the infringing conduct” of Rhodium. FAC ¶¶ 14–16. In

addition, it alleges each of them “helped design Defendants’ infringing immersion cooling sys-

tems” and “directs, participates in, and makes decisions regarding the making and use of the in-

fringing immersion cooling systems.” Id. The FAC further quotes from Rhodium Enterprises’

Amended SEC Form S-1, which confirms the Individual Defendants’ participation in the infring-

ing design: “Our founders spent the previous four years developing, testing, and collecting field

operational data to optimize the application of our liquid-cooling technology to mining bitcoin.”

Id. ¶ 44; see also rhdm.com (last accessed May 12, 2022) (Rhodium Enterprises’ own website

touts the same: “Our founders spent years developing, testing, and collecting field operational

data to optimize the application of our liquid-cooling tech for mining bitcoin.”). The Individual

Defendants are “founders.” See FAC ¶¶ 14–16; see also SEC Amendment No. 6 to Form S-1 at

94, Rhodium Enterprises, Inc. (Jan. 18, 2022), available at https://www.sec.gov/Archives/ed-

gar/data/0001874985/000121390022002442/fs12022a6_rhodium.htm. (“Mr. Nichols is our co-

founder . . . ,” “Mr. [Chase] Blackmon is our co-founder . . . ,” and “Mr. [Cameron] Blackmon is

our co-founder . . . .”). As in Lubby Holdings, the Individual Defendants designed the accused

instrumentalities and made decisions to commit infringement by making and using the accused

instrumentalities, and to induce infringement by others.

       Defendants’ Motion attempts to gloss over Midas’ allegations by calling them “conclu-

sory” and, again, incorrectly asking the Court to disregard them. MTD at 12–13; see supra at 8–

9. Defendants do not substantively address Midas’ allegations of the Individual Defendants’ di-

rect infringement—this omission is fatal. Midas’ specific factual allegations, including infor-

mation pulled from Rhodium Enterprises’ SEC filing as well as publicly available sources, am-

ply satisfy Midas’ pleading obligations.

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   D. The FAC sufficiently alleges induced infringement.

   To allege induced infringement, the plaintiff must allege direct infringement, as well as that

the defendant (1) knew of the patent; (2) knew or should have known the induced acts constitute

patent infringement; and (3) possessed specific intent to encourage another’s infringement. Bio-

Rad Labs, Inc. v. Int’l Trade Comm’n, 998 F.3d 1320, 1335 (Fed. Cir. 2021). “[K]nowledge of

infringement can be inferred from circumstantial evidence.” Warsaw Orthopedic, Inc. v. NuVa-

sive, Inc., 824 F.3d 1344, 1347 (Fed. Cir. 2016) (citing Global-Tech Appliances, Inc. v. SEB S.A.,

563 U.S. 754 (2011)). Here, Defendants do not challenge that Midas pleads direct infringement

and that Defendants had knowledge of Midas’ patents. They dispute, however, that Midas pleads

Defendants knew or should have known their induced acts constituted patent infringement or that

they possessed specific intent to encourage infringement. MTD at 13. These arguments are with-

out merit.


       1. Defendants had abundant and detailed knowledge of their infringement.
   The FAC contains detailed allegations supporting the inference Defendants knew they in-

duced others to engage in conduct amounting to infringement. Specifically, the FAC alleges that

while selling their immersion cooling systems through their previous company, the Individual

Defendants received a detailed letter from Midas, including a claim chart, informing them their

product infringed the ’457 patent. FAC ¶ 52. Then, after filing suit, Midas amended its complaint

to allege the Individual Defendants’ products also infringed the ’446 patent, including a claim

chart. Id. ¶ 53. Immersion Systems (under the control and at the direction of the Individual De-

fendants) actively litigated that lawsuit through claim construction for almost two years and filed

two PTAB petitions. Through these events, the Individual Defendants had actual knowledge that

(and how) their immersion cooling system infringed Midas’ patents. Id. ¶¶ 58–61; see Voip-

Pal.com, Inc. v. Facebook, Inc., 2022 WL 1394550, at *2 (W.D. Tex. May 2, 2022) (finding pre-

suit knowledge of infringement based on notice letter and ongoing litigation between the parties).

And Rhodium had the same actual knowledge from its founders from the get-go. Id. Yet, despite


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their knowledge, Defendants induced others to make, have made, use, sell, offer for sale, or im-

port immersion cooling systems materially identical to those at issue in the Immersion Systems

litigation. Id. ¶¶ 57–58.

    Defendants’ arguments to the contrary fall flat. First, Defendants disingenuously try to dis-

tance themselves from the detailed letter, claim chart, and litigation by stating they involved “dif-

ferent products sold by that other company.” MTD at 14. This ignores the fact that the “other

company” was the Individual Defendants’ previous company, running a similar business (devel-

oping and selling immersion cooling systems for bitcoin mining to third parties, as opposed to

developing and operating immersion cooling systems for bitcoin mining for internal use), and the

FAC contains numerous specific factual allegations that the immersion cooling systems sold by

the previous company appear to be materially identical to those used by Rhodium. The FAC in-

cludes photos from publicly available sources showing the structure of both the Immersion Sys-

tems’ products and Rhodium’s products. See id. ¶¶ 41, 44–51, 57. And the FAC alleges that the

Individual Defendants apparently decided to use materially the same immersion cooling system

design at Rhodium as they had at Immersion Systems, id. at ¶ 58, and that “the immersion cool-

ing systems of Rhodium are materially identical to the immersion cooling systems previously

promoted by the Individual Defendants by way of Immersion Systems,” id. ¶ 57. In addition, the

FAC cites to Rhodium Enterprises’ Amended SEC Form S-1 filed on December 14, 2021, which

discloses the Immersion Systems litigation and acknowledges the possibility that Midas may file

a lawsuit against Rhodium. Id. ¶ 65. Notably, Rhodium does not state the Rhodium products dif-

fer from the Immersion Systems products in any material respect. Id. The FAC also cites to Rho-

dium Enterprises’ post-complaint Amended SEC Form S-1 filed on January 18, 2022, which dis-

closes this action but again makes no statement that the Rhodium products differ from the Im-

mersion Systems products in any material respect. Id. Rhodium’s silence amounts to a tacit ad-

mission that the products are the same or similar in all material respects. Id. These allegations

sufficiently plead Defendants’ knowledge that their products infringed Midas’ patents.



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   Second, Defendants attempt to argue the Immersion Systems products and Rhodium products

are not materially identical because the former has a long bar above the tank while the latter does

not. MTD at 15. But the MTD does not explain how this alleged difference is material to in-

fringement of the patents—and indeed, it is not. And it therefore does not impact Defendants’

knowledge that the Immersion Systems and Rhodium products appear to be materially identical

and infringe Midas’ patents in materially the same way. In any case, Defendants’ argument is in-

appropriate at the pleading stage, where Midas’ allegation that the two products are materially

identical must be accepted as true.

   Finally, Defendants make the absurd argument that they can somehow rebut their knowledge

of infringement by pointing to a statement in their SEC filing that they believe Midas’ patents are

invalid, and their immersion cooling systems would not infringe upon the claims of such patents.

MTD at 15–16. This argument is conspicuously devoid of case law support. Almost certainly be-

cause it is axiomatic that a defendant’s “belief in patent invalidity is not a defense to induce-

ment.” Warsaw Orthopedic, Inc. v. NuVasive, Inc., 824 F.3d 1344, 1347 (Fed. Cir. 2016) (citing

Commil USA, LLC v. Cisco Sys., Inc., 575 U.S. 632 (2015)). Likewise, a defendant’s asserted be-

lief in non-infringement is an inadequate defense to inducement if the belief was unreasonable.

Id. at 1351 n.2. Defendants’ reliance on Rhodium Enterprise’s purported belief that Midas’ pa-

tents are invalid (notably unsupported by any actual facts or argument) is unsupported by law,

and inappropriate at the motion to dismiss stage. Taken to its logical conclusion, Defendants’ ar-

gument that they can rebut the knowledge element by simply stating they do not believe their

product is infringing would eviscerate the induced infringement doctrine altogether, especially at

the pleading stage.


       2. Defendants specifically intended to induce infringement by instructing and directing
          infringement.
   The FAC alleges that the Defendants specifically intended to induce infringement. FAC

¶¶ 79, 95. And Midas alleges at least two categories of acts that support such an inference. First,


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Midas alleges that Defendants provided designs and instructions on infringing activity to third

parties and to each other. Specifically, Midas alleges that Defendants provided “designs and in-

structions” to third party manufacturers and contractors to have made the infringing immersion

cooling systems, while knowing that those designs and instructions infringed the Asserted Pa-

tents and that the third parties would infringe the Asserted Patents by following the designs and

instructions. FAC ¶¶ 80, 96. Midas similarly alleges that Rhodium Enterprises, Rhodium Tech-

nologies, and the Individual Defendants induced infringement by providing “directions, instruc-

tions and designs” to the Rhodium Operating Subsidiaries to use the immersion cooling systems

in an infringing manner. FAC ¶¶ 81, 97. Second, Midas alleges Rhodium Enterprises, Rhodium

Technologies, and the Individual Defendants induced infringement by “directing and control-

ling” the Rhodium Operating Subsidiaries’ infringing activities. FAC ¶¶ 82, 98. Both categories

of conduct offer sufficient bases to infer Defendants’ specific intent at the pleading stage.

    Courts have made clear that inducement may be inferred from “instructing how to engage in

infringing use.” Barry v. Medtronic, Inc., 914 F.3d 1310, 1334 (Fed. Cir. 2019); see also Bill-

JCo, LLC v. Apple Inc., 2022 WL 299733 at *7 (finding it “reasonable to infer [defendant]’s af-

firmative intent to encourage infringement post-suit” from defendant’s “knowledge of the As-

serted Patents since [plaintiff] filed suit” and “instructions in [defendant]’s developer guides”

that the claim charts mapped to limitations); Affinity Labs of Texas, LLC v. Blackberry Limited,

2014 WL 12551207, at *3 (W.D. Tex. Apr. 30, 2014) (“Proof of a defendant’s actual knowledge

of a patent infringement clearly demonstrates induced infringement . . . .”). At the pleading stage,

a plaintiff need only plead “classes of evidence” that “contain instructions on how to infringe.”

Motiva Patents, LLC v. Sony Corp., 408 F. Supp. 3d 819, 832 (E.D. Tex. 2019). For instance, the

court in Motiva held the plaintiff sufficiently pled facts to support induced infringement by alleg-

ing the defendant provided manuals, communications, and promotional materials that instructed

on how to “use the [accused products] in an infringing manner.” Id. at 831. Importantly, the court

noted that the plaintiff “need not identify what the manuals specifically say” or “how the com-

munications specifically instructed customers” because to “require such granular information

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would effectively require [the plaintiff] to prove, pre-discovery, the facts necessary to win at

trial.” Id. at 832 (internal quotes and alterations omitted). Here, Midas pleads Defendants provide

“designs and instructions” to third party manufacturers and contractors, and to each other, that

instruct on carrying out infringing activity. FAC ¶¶ 80, 81, 96, 97. These “classes of evidence,”

which Midas expects to uncover in discovery, are sufficient to survive a motion to dismiss.

    Defendants’ cases are inapposite. Defendants rely on cases where the plaintiffs allege only

that defendants sold products capable of infringement, and instructed on how to use the products,

not how to conduct the infringing activity. See Affinity Labs of Texas, LLC v. Toyota Motor N.

Am., 2014 WL 2892285 (W.D. Tex. 2014) (granting motion to dismiss where complaint alleged

defendant “induced customers to purchase its vehicles,” not to use the vehicles in an infringing

manner); U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc., 2013 WL 8482270 (E.D. Tex.

Mar. 6, 2013) (granting motion to dismiss where complaint alleged customers who purchased de-

fendant’s systems and components and operated them “in accordance with [the defendant’s] in-

structions” would infringe the plaintiff’s patent); Core Wireless Licensing S.A.R.L. v. Apple, Inc.,

2015 WL 4910427 (E.D. Tex. Aug. 14, 2015) (granting motion to dismiss where the plaintiff

only alleged the defendant provided “instructive materials and information concerning operation

and use of the accused products.”).

    HZNP Meds. LLC v. Actavis Labs. UT, Inc., 940 F.3d 680 (Fed. Cir. 2019) illustrates this dis-

tinction. In this case, the Federal Circuit held induced infringement was not supported where

“not all patients who follow the [defendant’s] instructions . . . will engage in infringing use . . . .”

Id. at 702. Rather, the critical piece is that the instructions must “teach an infringing use of the

device such that we are willing to infer from those instructions an affirmative intent to infringe

the patent.” Id. at 701. Here, Midas alleges Defendants provide designs and instructions on how

to make infringing immersion cooling systems and use them in an infringing manner, with full

knowledge that such making and use would constitute direct infringement. There is no other in-

ference than that Defendants provided the designs and instructions with the intent to induce in-

fringing acts.

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    As to the second category, controlling or directing infringing activity also creates an infer-

ence of specific intent. For instance, in Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d 1372,

1380 (Fed. Cir. 2017), the Court held the plaintiff sufficiently pled induced infringement where it

alleged the defendant “assisted in or directed the installation of exactly the type of” product de-

scribed by plaintiff’s patent onto vehicles at one of the defendant’s plants. Here, Midas’ allega-

tions that Rhodium Enterprises, Rhodium Technologies, and the Individual Defendants induced

infringement by “directing and controlling” the Rhodium Operating Subsidiary’s infringing ac-

tivities form another basis for inferring specific intent.

    E. The FAC Sufficiently Alleges Willful Infringement.

    Finally, the Court should reject Defendants’ argument that the FAC fails to plead willful in-

fringement, as it has done in many recent cases including BillJCo and NXP USA Inc. v. Medi-

aTek Inc. To state a claim for willful infringement, the plaintiff must plead the defendant

(1) knew of the patent-in-suit; (2) after acquiring that knowledge, it infringed the patent; and (3)

in doing so, it knew, or should have known, that its conduct amounted to infringement of the pa-

tent. BillJCo, LLC v. Apple Inc., 2022 WL 299733, *3 (W.D. Tex. Feb. 1, 2022). Defendants do

not dispute the FAC pleads the first two elements. For the reasons discussed above, the FAC suf-

ficiently alleges the third element of Defendants’ knowledge that their conduct amounted to in-

fringement.

    Defendants also argue the FAC is deficient because it “makes no allegations that plausibly

show Defendants have engaged in egregious conduct.” MTD at 20. This misstates the law (and is

just wrong). This Court has declined to “impose an egregiousness pleading requirement” for

willful infringement. BillJCo, LLC v. Apple Inc., 2022 WL 299733, *6 (W.D. Tex. Feb. 1, 2022);

see also NXP USA Inc. v. MediaTek Inc., 2022 WL 799071, at *4 (E.D. Tex. Mar. 15, 2022) (“a

plaintiff need not plead facts demonstrating egregious conduct to establish a claim for willful in-

fringement at the 12(b)(6) stage.”). Midas sufficiently pleads each of the three elements of will-

ful infringement, and more is not needed.



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   Despite not being required to do so, the FAC in fact includes numerous factual allegations

that Defendants engaged in egregious infringement behavior capable of supporting an award of

enhanced damages. The FAC alleges that despite knowing their immersion cooling systems in-

fringed Midas’ patents, Defendants continued to operate their infringing immersion cooling sys-

tems, and aggressively sought to expand their operations—indeed, Defendants fired up an en-

tirely new business based on the immersion cooling systems they knew infringed the Asserted

Patents. FAC ¶ 100. In addition, in the prior Immersion Systems litigation, the Individual De-

fendants “actively sought to conceal the existence” of Rhodium, “despite clear discovery obliga-

tions to do so.” Id. ¶ 101. Moreover, they “actively sought to conceal that Immersion Systems

had ceased business operations” to continue the Immersion Systems litigation “for the true bene-

fit of the Rhodium entities and the Individual Defendants.” Id. Finally, the Defendants “bank-

rolled the filing and prosecution” of two post-grant review proceedings, “nominally in the name

of Immersion Systems,” in attempts to invalidate Midas’ patents. In short, Defendants “know-

ingly and maliciously stole[] Midas’ patented and innovative technology for their own profit

without compensating the inventors of the technology.” Id. ¶ 103. These allegations more than

support an inference that Midas is entitled to enhanced damages in this case based on Defend-

ants’ egregious conduct. See Tinnus Enter., LLC v. Telebrands Corp., 369 F. Supp. 3d 704, 726

(awarding enhanced damages based on defendant’s deliberate infringement and litigation mis-

conduct).

                                           Conclusion
   For the foregoing reasons, the Court should deny the MTD in its entirety. In the alternative,

to the extent the Court finds any of its claims are not sufficiently pled, Midas respectfully asks

the Court for leave to amend its FAC.




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Dated: May 16, 2022
                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who have appeared electronically in this case are

being served on May 16, 2022 via the Court’s ECF system.


                                            /s/ Henry Pogorzelski
                                            Henry Pogorzelski




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